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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


AFRICAN COMMUNITIES
TOGETHER, a membership
organization; UNDOCUBLACK
NETWORK, a membership
organization; DAVID KROMA;
MOMOLU BONGAY; OTHELLO
A.S.C. DENNIS; YATTA KIAZOLU;
CHRISTINA WILSON; JERRYDEAN
SIMPSON; C.B., AL. K., D.D., D.K.,
AI. K., AD. K. by and through their
father and next friend DAVID KROMA;
O.D., and A.D., by and through their
father and next friend OTHELLO
A.S.C. DENNIS; O.S. by and through
his mother and next friend
JERRYDEAN SIMPSON,

                Plaintiffs,
                                                     Civil Action No. 19-cv-10432
      v.

DONALD J. TRUMP, President                 AMICI CURIAE BRIEF OF THE STATE
of the United States in his                             OF MINNESOTA, THE
official capacity; U.S. DEPARTMENT                     COMMONWEALTH OF
OF HOMELAND SECURITY;                       MASSACHUSETTS, THE STATES OF
KEVIN MCALEENAN, Acting Secretary                CALIFORNIA, CONNECTICUT,
 of the Department of Homeland Security    DELAWARE, ILLINOIS, MARYLAND,
in his official capacity,                  NEVADA, NEW JERSEY, NEW YORK,
                                          OREGON, RHODE ISLAND, VERMONT,
                Defendants.                              AND WASHINGTON,
                                          AND THE DISTRICT OF COLUMBIA IN
                                                    SUPPORT OF PLAINTIFFS’
                                               OPPOSITION TO DEFENDANTS’
                                                        MOTION TO DISMISS
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   Children, Ctr. Law & Soc. Pol’y (Mar. 2018) ....................................................................... 13




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                  INTRODUCTION AND INTEREST OF AMICI STATES

       The Amici States, Minnesota, Massachusetts, California, Connecticut, Delaware, Illinois,

Maryland, Nevada, New Jersey, New York, Oregon, Rhode Island, Vermont, Washington, and

the District of Columbia are home to a large number of people from Liberia who are protected by

Deferred Enforced Departure (DED), which is an immigration program authorized by the

President to protect foreign nationals whose countries have experienced armed conflict, civil

unrest, natural disasters, or public health crises. Liberians protected by DED are hardworking

colleagues and valued contributors to our communities in the Amici States.

       Unless federal officials are enjoined from enforcing the President’s decision to terminate

DED protections, Liberian nationals in the Amici States will be removed to Liberia, despite the

unsafe conditions there. This will deprive the Amici States’ economies and communities of

positive contributions from coworkers and neighbors who have lived here for decades. Our

health care industries in particular will suffer, as many Liberians work in that field. Of course,

the harms from the President’s decision to end DED will be felt most acutely by individuals,

including Plaintiffs, who will be forced to leave their families, jobs, and communities in the

Amici States.

       The Amici States also have an interest in protecting the welfare of children, including

minor Plaintiffs, raised in our states who were born to Liberian parents, or who are cared for by

Liberian guardians. These children, who are U.S. citizens, are suffering because of the fear that

their parents may be removed from the country as a result of the President’s decision to end DED

protections. The fact that the President has the power to change his mind and again extend DED

protections does not eliminate their injuries or moot this case.




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                                          ARGUMENT

I.     THE PRESIDENT’S DECISION TO TERMINATE DED WILL INFLICT HARM
       IN THE AMICI STATES AND ON INDIVIDUAL LIBERIAN NATIONALS,
       INCLUDING PLAINTIFFS.

       The Liberian communities in the Amici States have made and continue to make valuable

contributions to the Amici States. They are civic leaders, hardworking coworkers, and reliable

neighbors. Unless federal officials are enjoined from enforcing the President’s directive, the

termination of DED will inflict widespread harm on our Liberian families and communities. The

following examples highlight the ways that President Trump’s decision will impact the Amici

States and cause harm to individual Liberian nationals, including Plaintiffs.

           1.      Minnesota

       Minnesota is home to one of the largest Liberian communities in the United States, with

an estimated population of 15,900 people who were born in Liberia or report Liberian ancestry.1

A majority of employed Liberians work in the health care and social assistance or educational

services industries, according to U.S. Census data.2 The President’s actions thus pose particular

harms to the state’s economy because Minnesota, like many other states, faces serious shortages




1
 See The Economic Status of Minnesotans 2018, Minnesota State Demographic Center,
Minnesota Department of Administration 8 (2018), https://tinyurl.com/y55tft24.
2
 U.S. Census Bureau, 2011-2015 American Community Survey: Selected Economic
Characteristics, https://tinyurl.com/y4b6m7ta.


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and a growing need for workers in health and social services.3 A significant percentage of

Liberians in Minnesota also work in manufacturing, retail trade, and finance and real estate.4

         Last year, then-Governor Mark Dayton wrote to President Trump to urge him to reverse

the decision to terminate DED protections.5 This letter summarized how Liberians have become

enmeshed in Minnesota communities and how their removal would harm Minnesota, particularly

its health care industry:

         Many Liberian DED holders have been in the United States for over 30 years and
         have built families and careers in our country. They are part of the social fabric
         of Minnesota; they are our neighbors, colleagues, and friends.

         In 1989, a devastating civil war began in Liberia which ravaged that country for
         seven years, and displaced millions. Liberia is still recovering from that conflict,
         and so are its people. Many fled to find new lives for themselves and their
         families—including thousands who settled here in the United States.
         Minnesotans welcomed Liberian refugees with open arms, and today our state is
         home to the largest community of Liberian Americans of any state in the nation.

         We are proud of our Liberian neighbors, and grateful for their many contributions
         to our communities, our culture, and our economy. A large number of Liberian
         Americans work in Minnesota’s health care industry—providing quality, skilled
         care to many sick, elderly, and other vulnerable people. Our health care industry
         has come to depend upon their hard work and skilled labor. If these workers are
         forced to leave our country, their absence would cause a workforce crisis in
         Minnesota’s health care industry.

Id.




3
 See, e.g., Bill Catlin, Minn. Worker Shortage Squeezing Employers Gets Tighter, MPR News
(Sept. 21, 2018), https://www.mprnews.org/story/2018/09/21/minn-worker-shortage-squeezing-
employers-gets-tighter; Final Report on Strengthening Minnesota’s Health Care Workforce,
Minnesota Legislative Health Care Workforce Commission 5-13 (Dec. 2016),
https://www.leg.state.mn.us/docs/2016/mandated/161368.pdf.
4
    U.S. Census Bureau, supra note 2.
5
 See Letter from Governor Dayton to President Trump (Mar. 27, 2018),
https://www.uscis.gov/sites/default/files/files/nativedocuments/TPS_-
_Haiti_El_Salvador_Nicaragua_DED_-_Liberians_DACA_Governor_Dayton.pdf.


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       The Minnesota Speaker of the House of Representatives sent a similar letter to President

Trump, which recognized that “[o]ur Liberian neighbors contribute to our economy, our culture

and our communities,” and asked the President to extend DED for Liberians.6

       In addition to Minnesota’s political leaders, its business leaders are also sounding the

alarm. St. Therese will be especially hard hit by the expiration of DED protections. A news

article described how the Catholic nonprofit, which has senior care facilities in five Minnesota

suburbs, will lose about 100 workers or more, a significant percentage of its workforce. St.

Therese’s chief human resources officer was quoted as saying: “To lose that skilled care is an

enormous negative impact.”7

       Indeed, there are many examples of Liberians, protected by DED, who work and

contribute to civic life in Minnesota. If they are deported in accordance with the President’s

directive, Minnesota’s workforce will lose valuable employees and Minnesota’s communities

will lose civically-involved neighbors.

       Plaintiff Christina Wilson is one such example. Ms. Wilson has lived in the U.S. for 17

years and is a Minnesota resident. Am. Compl. (Doc. #46) at ¶ 63. While in the U.S., she

attended a nursing assistant school. Id. at ¶ 64. For the past 16 years, she has worked as a

nursing assistant at the St. Therese Nursing Home in Minnesota, mentioned above, where she

cares for elderly patients. Id. She is also active in her community and church. Id. at ¶ 65.




6
 See Letter from Speaker of the Minnesota House Melissa Hortman to President Trump (Mar.
19, 2019), https://www.dfl3cd.org/speaker-hortman-and-house-dflers-letter-to-president-trump-
and-congressional-delegation/.
7
 See Maya Rao, Twin Cities Senior Care Facilities Brace for Loss of Liberian Immigrant
Workers, Minneapolis Star Tribune (Mar. 21, 2019), http://www.startribune.com/twin-cities-
senior-care-facilities-brace-for-loss-of-liberian-immigrant-workers/507489282/.

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        Magdalene Menyongar is another example. She is a certified nursing assistant in

Minnesota. She works more than 60 hours each week at two nursing homes and uses her

paycheck to support her 97-year-old mother. She is also the president of the women’s ministry

at her Liberian church. Her husband, also a Liberian immigrant, died in 2011. If Ms.

Menyongar is deported, she will be separated from her daughter, a high school student who is

preparing for college.8

        Linda Clark fled war-torn Liberia to Minneapolis, where she lives with her mother and

two brothers. She has worked at Wells Fargo for 14 years, currently as an account resolution

specialist. She is a civic leader who has raised awareness about Liberians losing DED

protections and was U.S. Representative Ilhan Omar’s guest to President Trump’s February 5,

2019 State of the Union Address. Representative Omar said of Ms. Clark: “Linda is exactly the

type of American success story we should celebrate—someone who came to this country seeking

a better life, played by the rules, and built a life for herself.”9

        Isabela Wreh-Fofana has lived in St. Paul, Minnesota for 17 years and works as a nursing

assistant. Her son, Nyensuahtee Fofana, 23, played running back for his high school football

team and dreams of pursuing a college marketing degree. However, he has been diagnosed with

a heart condition that has required three open-heart surgeries. He will probably need another



8
 See Orion Donovan-Smith, End of Immigration Program Gives Liberians in U.S. a Choice:
Leave Their American Children or Become Undocumented, Wash. Post. (Feb. 21, 2019),
https://www.washingtonpost.com/national/end-of-immigration-program-gives-liberians-in-us-a-
choice-leave-their-american-children-or-become-undocumented/2019/02/20/03b3cae6-30db-
11e9-813a-0ab2f17e305b_story.html?utm_term=.ffb68c22aa59.
9
 See Jim Walsh, Linda Clark Tells her Story as Local Liberians Plan Friday Rally for ‘DED
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https://www.minnpost.com/new-americans/2019/02/linda-clark-tells-her-story-as-local-liberians-
plan-friday-rally-for-ded-awareness-at-the-state-capitol/.


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surgery by the time he is 30. They fear being removed to Liberia, because they do not know how

he will receive the health care he needs there.10

       Moses Punni is a group production leader at Medtronic in Minnesota, an associate pastor,

and a worship ministry founder. He mentors many Liberian youth in his community of Coon

Rapids, Minnesota. He also has a 16-year-old daughter, who is a U.S. citizen. He fears having

to leave his daughter behind, as well as the community-rich life he has built over 17 years in

Minnesota.11

       If Ms. Wilson, Ms. Clark, Ms. Wreh-Fofana, Mr. Fofana, Mr. Punni, and many others

like them are removed, Minnesota’s workforce will lose hardworking employees and

Minnesota’s communities will lose civically-involved neighbors and friends. These individuals

and their families will, of course, suffer the most.

           2.      Massachusetts
       Massachusetts is also home to a vibrant Liberian community that contributes to the

economy and civic life, especially in Worcester, where Liberian immigrants predominantly

reside.12 An estimated 2,750 people who were born in Liberia currently live in Massachusetts,13




10
  See Jared Goyette, ‘I Was Raised an American’: Liberians Await Possible Deportation from
US, The Guardian (Mar. 19, 2019), https://www.theguardian.com/us-
news/2019/mar/19/liberians-deportation-trump-administration.
11
  See Tess Allen, Meet Some of Your Liberian Neighbors Now Facing Deportation, Mpls. St.
Paul Magazine (July 25, 2018), http://mspmag.com/arts-and-culture/meet-some-of-your-liberian-
neighbors-now-facing-deportation/.
12
  See Michael D. Goodman et al., The Foreign-born Population of Worcester, Massachusetts:
Assessing the Challenges and Contributions of a Diverse Community, Public Pol’y Ctr, Univ. of
Mass., Dartmouth 7 (July 2015), http://www.sevenhills.org/uploads/ForeignBornStudy.pdf.
13
  U.S. Census Bureau, 2013-2017 American Community Survey 5-Year Estimates: Place of
Birth for the Foreign-Born Population in the United States, https://tinyurl.com/y2ww7xzu.


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and approximately 600 people who report they are of Liberian ancestry are not U.S. citizens.14

The majority of people of Liberian ancestry in Massachusetts work in educational services,

health care, and social assistance (53%).15 Significant percentages also work in the financial

services and real estate (13%) and retail (10%) industries.16 The labor force participation rate for

people of Liberian ancestry in Massachusetts is 74%,17 substantially higher than the average of

67.5% for the Commonwealth as a whole.18

           The plaintiffs in this case demonstrate the deep ties and significant contributions of

Liberian DED holders in our communities. Plaintiff David Kroma is a Liberian DED holder in

Worcester, where he owns his home. Complaint at ¶ 31. He is employed as a mental health care

worker, providing care to patients of a Commonwealth mental health facility in Worcester.

Declaration of David Kroma, Exhibit 34 (Doc. #13-36) at ¶ 7. Plaintiff Momolu Bongay, a

Liberian DED holder, works as a direct care professional, caring for patients in Worcester.

Declaration of Momolu Bongay, Exhibit 35 (Doc. #13-37) at ¶ 7. Plaintiff Othello A.S.C.

Dennis is a Liberian DED holder and a social worker, also in Worcester. Complaint at ¶ 46. Mr.

Dennis also supports his community outside of work, volunteering with community

organizations to support youth in Worcester-area schools. Declaration of Othello Dennis,

Exhibit 31 (Doc. #13-33) at ¶ 8. These Plaintiffs support their families in Massachusetts,

including their U.S. citizen children. Complaint at ¶¶ 31–53. The termination of DED will not




14
  U.S. Census Bureau, 2011-2015 American Community Survey: Place of Birth by Nativity and
Citizenship Status, https://tinyurl.com/y3xhb5ky.
15
     U.S. Census Bureau, supra note 2, https://tinyurl.com/yypwzjk6.
16
     Id.
17
     Id.
18
     Id., https://factfinder.census.gov/bkmk/table/1.0/en/ACS/15_SPT/DP03/0400000US25.

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only harm these Plaintiffs and their families, but will also deprive the Worcester community and

economy of valued neighbors and hardworking employees.

             3.     California.
         California’s African population in general, and Liberian population in particular, is an

important part of California’s large and diverse immigrant community (the largest in the United

States). The state has the fourth-largest population of African immigrants in the country, with

over 130,000 African immigrants calling California home,19 including over 2,300 Liberians.20

Over 350 Liberians living in California report they are non-citizens.21 The largest percentage of

Liberians by far—more than 40 percent—work as home health aides, nurses, and teachers.22

Given the increasing projected need for workers in the direct care field with a growing elderly

population,23 Liberian immigrants’ “outsized role in the healthcare industry . . . makes them a

small, but important, component of our workforce.”24

         Plaintiff Yatta Kiazolu exemplifies the strong contributions that Liberian DED holders

have made and continue to make to California, the dilemma they face if DED is terminated, and



19
  New American Economy, Power of the Purse: How Sub-Saharan Africans Contribute to the
U.S. Economy (Jan. 2018), http://research.newamericaneconomy.org/wp-
content/uploads/sites/2/2018/01/NAE_African_V6.pdf.
20
     U.S. Census Bureau, supra note 13, https://tinyurl.com/y67394q2.
21
     U.S. Census Bureau, supra note 14, https://tinyurl.com/y2m8yb2b.
22
  U.S. Census Bureau, supra note 2, https://tinyurl.com/y67394q2; U.S. Bureau of Labor
Statistics, Industries at a Glance, https://www.bls.gov/iag/tgs/iag62.htm.
23
  In California and Massachusetts, the position of home health aide is the fastest growing job,
predicted to grow by 41% and 38%, respectively, in the next few years. Cal. Employ. Dev.
Dep’t, 2016-2026 Statewide Employment Projections Highlights, https://tinyurl.com/CALabMar
(“CA Long-Term” tab); Mass. Exec. Off. of Labor & Workforce Dev., Labor Market
Information: Most Job Openings for Massachusetts, https://tinyurl.com/MASSLabMar.
24
     How Sub-Saharan Africans Contribute to the U.S. Economy, supra note 19.


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the senselessness of the Administration’s decision to do so. Ms. Kiazolu is a 28-year-old PhD

candidate at UCLA in history who has taught at colleges in California and Delaware. Am.

Compl. at ¶¶ 59, 61. She was born in Botswana to Liberian parents, and has lived in the U.S.

since she was six years old, growing up in Delaware. Id. at ¶ 60. Ms. Kiazolu has not been to

Liberia since she was four, id.; thus, she is facing the prospect of removal to a country she barely

knows and where she has never lived. She dreams of completing her studies in California and

continuing her career as an educator, but her future is profoundly clouded by the uncertainty

surrounding DED: “Administrators haven’t been able to tell her what could happen to her

research funding or whether she’ll even be able to remain a student. Without permission to work,

she doesn’t know how she’d pay back her student loans.”25 This uncertainty has led to missed

opportunities for Ms. Kiazolu, despite her repeated efforts to become a U.S. citizen.26

California—and the Nation as a whole—will be diminished if industrious, dedicated students and

educators like Ms. Kiazolu are removed from this country due to their loss of DED.

             4.     New Jersey
         New Jersey is home to the fourth largest Liberian community in the United States, with an

estimated population of more than 6,000 people of Liberian ancestry.27 Of the total foreign-born




25
  Andrea Castillo, Trump’s Move to End Humanitarian Program Exposes Liberian UCLA
Student to Deportation, L.A. Times (Mar. 16, 2019),
https://www.latimes.com/local/lanow/la-me-liberian-program-20190316-story.html.
26
  Camila DeChalus, Ph.D. Student Faces Deportation to Liberia, Where She Has Never Lived,
Roll Call (Mar. 28, 2019), https://www.rollcall.com/news/facing-deportation-to-liberia-where-
she-has-never-lived.
27
     U.S. Census Bureau, supra note 13, https://tinyurl.com/y2ywcb9m.


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population of Liberian ancestry, more than half report not having U.S. citizenship.28 Among

individuals of Liberian ancestry, 85.6 percent of those over the age of 25 have a high school

diploma,29 and participation in the workforce is 74 percent, which is about eight percentage points

higher than the state participation rate. Approximately 48.5 percent work in New Jersey’s

educational services, health care, and social assistance industries,30 while significant numbers also

work in retail (10.0%) and public administration (10.9%).31 Ending DED would harm the state’s

economy by depriving these industries of skilled workers. In particular, the termination of DED

would affect New Jersey's private businesses because three-quarters of employed individuals of

Liberian ancestry work in the private sector.32

           In New Jersey, Liberian refugees are leaders in the business community, 33 members of

local faith communities,34 and innovators in the local economy.35 The vast majority of foreign-


28
   U.S. Census Bureau, 2011-2015 American Community Survey: Selected Social Characteristics
in the United States, https://tinyurl.com/yyjcplay.
29
     Id.
30
  U.S. Census Bureau, supra note 2, https://tinyurl.com/y34neecj. By contrast, the statewide
percentage of workers in educational services, health care, and social assistance is 23.7 percent.
Id., https://factfinder.census.gov/bkmk/table/1.0/en/ACS/15_SPT/DP03/0400000US34.
31
     U.S. Census Bureau, supra note 2, https://tinyurl.com/y34neecj.
32
     Id.
33
  See Laura Michaels, Refugee Turned IHOP Franchisee Brings the Hustle, Franchise Times
(July 25, 2019), http://www.franchisetimes.com/August-2019/Refugee-turned-IHOP-franchisee-
brings-the-hustle/ (profiling Adenah Bayoh, a New Jersey restaurant entrepreneur who
immigrated to the United States when she was 13 years old after fleeing the civil war in Liberia).
34
   See Wendy Plump, Trenton’s Lutheran Church of the Redeemer Offers Happy Home for Many
Liberian Refugees, NJ.com (Sept. 30, 2012),
https://www.nj.com/mercer/2012/09/trentons_lutheran_church_of_th.html.
35
  See Tammy La Gorce, A Farmer Reclaims Liberian Roots in New Jersey, N.Y. Times (June
26, 2015), https://www.nytimes.com/2015/06/28/nyregion/a-farmer-reclaims-liberian-roots-in-
new-jersey.html (describing Morris Gbolo, who emigrated from Liberia in 2003 and now grows
Liberian produce for the local Liberian community in New Jersey).


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born individuals of Liberian descent in New Jersey entered the United States at least 10 years ago,

indicating long-term ties with the state.36 As described by U.S. Representative Donald M. Payne

Jr. (NJ-10), in a letter co-authored with U.S. Senator Jack Reed (D-RI), the end of DED would

create “anxiety and legal uncertainty within our Liberian-American communities.”37

             5.     New York
         New York is also home to a large population of immigrants from Africa in general and

Liberia in particular. It has the country’s second-largest population of immigrants from sub-

Saharan Africa, 38 and its estimated population of African immigrants overall exceeds 192,000,

including an estimated 5,200 people born in Liberia.39 Many New York residents of Liberian

ancestry live in Staten Island’s “Little Liberia” neighborhood40—one of the largest Liberian

populations outside of Africa.41 Approximately 1,350 of those in New York who report having

Liberian ancestry are not U.S. citizens.42



36
  See U.S. Census Bureau, 2011-2015 American Community Survey: Period of Entry by
Nativity and Citizenship Status in the United States, https://tinyurl.com/y2yrrqhl (approximately
89 percent of foreign-born individuals of Liberian descent entered the United States before
2010).
37
   Press Release, Office of U.S. Rep. Donald M. Payne Jr., 50 Members of Congress Call for
Extension of Protected Status for Liberians Living in the United States (Mar. 1, 2019),
https://payne.house.gov/press-release/50-members-congress-call-extension-protected-status-
liberians-living-united-states.
38
     How Sub-Saharan Africans Contribute to the U.S. Economy, supra note 19.
39
     U.S. Census Bureau, supra note 13, https://tinyurl.com/y4zwy2r5.
40
  Josefina de la Fuente, Liberian Immigrants are Running Out of Time, N.Y. City Lens (Feb. 16,
2019), http://nycitylens.com/2019/02/liberian-immigrants-running-time/.
41
   Sydney Kashiwagi, Island Pols Push to Extend Immigration Status for Borough’s Liberian
Population Ahead of Looming Deadline, SILive.com (Mar. 4, 2019),
https://www.silive.com/news/2019/03/island-pols-push-to-extend-immigration-status-for-
boroughs-liberian-population-ahead-of-looming-deadline.html.
42
     U.S. Census Bureau, supra note 14, https://tinyurl.com/y3vq7udb.


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          Terminating DED will cause significant hardship to New York and its Liberian residents.

As in other States, New York’s Liberian population plays an important role in crucial industries

such as educational services, health care, and social assistance, which employ nearly half (45%)

of the State’s residents with Liberian ancestry.43 Terminating DED would harm these industries

and devastate communities like Little Liberia, where many Liberian immigrants are parents of

U.S. citizens and DED holders wonder how they would make ends meet if forced to return to

Liberia after decades in the United States.44

II.       CHILDREN IN THE AMICI STATES, INCLUDING MINOR PLAINTIFFS, ARE
          SUFFERING BECAUSE OF THE PRESIDENT’S DECISION.

          The Amici States have a strong interest in protecting the welfare of children in their

states. Because DED holders from Liberia have lived in the Amici States for many years, they

have had the opportunity to raise families. See, e.g., Am. Compl. at ¶¶ 36–58. Children born in

the U.S. to Liberian nationals are U.S. citizens. See id. at ¶¶ 7, 18. The President’s decision to

terminate DED for Liberians is causing deep harm to these children, including to the minor

Plaintiffs. See id. at ¶¶ 41–45, 57–58.

          Studies show that fears about family members’ deportations can cause children to

experience serious mental health problems, including depression, anxiety, self-harm, and

regression.45 Children’s concerns about their parents’ deportation can also impair their




43
     U.S. Census Bureau, supra note 2, https://tinyurl.com/yxfhfdtw.
44
  Liberian Immigrants Are Running Out of Time, supra note 40; see also Nina Agrawal, In New
York's 'Little Liberia,' Some Immigrants Get Ready to Leave — or Go Underground, Los
Angeles Times (Apr. 6, 2018), https://www.latimes.com/nation/la-na-liberians-protected-status-
2018-htmlstory.html.
45
  Wendy Cervantes et al., Our Children’s Fear: Immigration Policy’s Effects on Young
Children, Ctr. Law & Soc. Pol’y (Mar. 2018), https://tinyurl.com/ChildFears.


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socioemotional and cognitive development.46 The children of Liberian nationals likely face

these same fears, and corresponding mental and emotional harms, as a result of President

Trump’s decision to terminate DED protections for their parents. Indeed, the Amended

Complaint specifically alleges that the minor Plaintiffs are suffering “anxiety and fear” as a

result of the President’s decision. Am. Compl. at ¶¶ 41–45, 57–58.

       A recent newspaper profile of Liberians in Minnesota discussed these types of concerns.

The article focused on a high school student, a cheerleader and an honors student, who is

preparing for college in a couple of years. While the student is a U.S. citizen, her Liberian

mother has remained in the country through DED. The student explained: “I would be so hurt if

my mom were to leave. . . . I need her here, I need her with me.”47

       If the President’s DED termination is enforced, injuries to children will grow even more

substantial. Forced separation from a parent is a traumatic event that can have serious and

lifelong physical and psychological consequences. In one study, children with parents who had

been detained or deported by immigration authorities refused food, pulled out their hair, had

persistent stomach-aches and headaches, used drugs and alcohol, lost interest in daily activities,

and had trouble maintaining positive relationships with other parents or new guardians.48 In the

long term, these traumatic childhood experiences can cause severe impairments of a child’s self-



46
  Hirokazu Yoshikawa, Immigrants Raising Citizens: Undocumented Parents and Their Young
Children 120–136 (2011).
47
  See Jared Goyette, She Fled Liberia’s Civil War 24 Years Ago. Now Trump Wants Her to Go
Back, The Guardian (Apr. 1, 2018), https://www.theguardian.com/us-
news/2018/apr/01/liberians-us-deportation-temporary-protected-status-tps-ded.
48
   Heather Koball et al., Health and Social Service Needs of US-Citizen Children with Detained
or Deported Immigrant Parents, Migration Pol’y Inst. 5 (Sept. 2015),
https://tinyurl.com/MIRFinal.


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worth and ability to form close relationships, increased anxiety, and depression.49 Studies of

adults who were separated from their families as children have shown negative outcomes for

mental health and substance abuse,50 marital success,51 and intellectual ability,52 as well as higher

rates of chronic illnesses such as diabetes and heart disease.53 Moreover, these children will lose

their economic stability and wellbeing, as parents will no longer be able to legally work. As a

result, many families will be forced to seek increased public benefits and social services,

stretching limited state resources.

         The children of DED holders will not only lose their economic security and even the

comfort and stability of living in homes with their parents, but also may become subject to child

protective services and ultimately placed in foster homes.54 When it is not possible for children

to live with their parents, social service agencies may seek placement in a foster home. In this

case, the termination of DED protections could result in the removal of Liberian parents and



49
  Kristen Lee Gray, Effects of Parent-Child Attachment on Social Adjustment and Friendship in
Young Adulthood, Cal. Poly. St. U., San Luis Obispo (June 2011), https://tinyurl.com/j3lgrno.
50
  Karti Räikönnen et al., Risk of Severe Mental Disorders in Adults Separated Temporarily from
Their Parents in Childhood: The Helsinki Birth Cohort Study, 45 J. Psychiatric Res. 332 (2011);
Moises Velasquez-Manoff, Finland Saved These Children From War, Did It Hurt Them in the
Process?, N.Y. Times (Sept. 19, 2018), https://tinyurl.com/NYT-Fam-Sep.
51
  Anu-Katriina Pesonen et al., Reproductive Traits Following a Parent-Child Separation
Trauma During Childhood: A Natural Experiment During World War II, 20 Am. J. Hum.
Biology 345 (2007) (finding higher rates of divorce).
52
  Anu-Katriina Pesonen et al., Intellectual Ability in Young Men Separated Temporarily from
Their Parents in Childhood, 39 Intelligence 335 (2011) (showing severe decline in verbal ability
and moderate impairments in general intelligence and mathematics).
53
     Velasquez-Manoff, supra note 50.
54
  Studies have estimated that, nationally, there are thousands of children in foster care due to
their parents’ detention or deportation. See Seth Freed Wessler, Shattered Families: The
Perilous Intersection of Immigration Enforcement and the Child Welfare System, Applied
Research Ctr. (Nov. 2011), https://tinyurl.com/ARCFam.


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family members, leaving children with no parents or adult kin capable of caring for them in this

country. As a result, some children could end up in foster care. These children would suffer the

trauma of losing a stable home with loving parents, and could instead find themselves shuttling

between temporary placements in a foster care system. Not only will this be traumatic and

harmful to the children, but it will needlessly cost states valuable resources for children who

have been abused or neglected.55

III.   THE PRESIDENT’S POWER TO EXTEND THE DED DEADLINE DOES NOT
       ELIMINATE PLAINTIFFS’ INJURIES OR MOOT THIS CASE.

       Defendants argue that Plaintiffs’ injuries are speculative and not imminent because the

President could extend DED for another year, as he did on March 28, 2019, which happened to

be the same day as the preliminary injunction hearing in this matter. See Defendants’ Memo.

(Doc. # 53) at 14–15; see also March 28, 2019 Notice (Doc. # 42). This argument is absurd and

contrary to Supreme Court precedent and the interests of judicial efficiency.

       Far from being speculative, the expiration date for DED, March 31, 2020, is clearly stated

in the President’s directive. March 30 is the last day that current Liberian DED beneficiaries

may lawfully reside and work in the country, per the directive. It is not the expiration date or the

deportation-related harms that are speculative. Rather, it is Defendants’ assertion that the

President could extend the deadline again. There has been no public indication that the President

is even contemplating another extension, and Defendants offer no such evidence.

       Furthermore, the President cannot evade review through last-minute extensions. As the

Supreme Court has stated, “a party should not be able to evade judicial review, or to defeat a



55
  Long-term foster care is estimated to cost federal and state governments about $25,000
annually per child. Nicholas Zill, Better Prospects, Lower Cost: The Case for Increasing Foster
Care Adoption, Nat’l Council for Adoption (May 1, 2011), https://tinyurl.com/ZillFoster.

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judgment, by temporarily altering questionable behavior.” City News & Novelty, Inc. v. City of

Waukesha, 531 U.S. 278, 284 n.1 (2001). “Indeed, as a general rule of thumb, a defendant may

not render a case moot by voluntarily ceasing the activity of which the plaintiff complains; were

the opposite true, a defendant could immunize itself from suit by altering its behavior so as to

secure a dismissal, and then immediately reinstate the challenged conduct afterwards.” Brown v.

Colegio de Abogados de Puerto Rico, 613 F.3d 44, 49 (1st Cir. 2010). Voluntary cessation of

challenged conduct only moots a case if it is “absolutely clear that the allegedly wrongful

behavior could not reasonably be expected to recur,” and “the heavy burden of persua[ding] the

court that the challenged conduct cannot reasonably be expected to start up again lies with the

party asserting mootness.” Adarand Constructors, Inc. v. Slater, 528 U.S. 216, 222 (2000)

(internal quotation marks and citations omitted). Here, the President’s short-term extension of

DED, and the bald statement that he retains the power to issue another extension if he so

chooses, do not come close to meeting this heavy burden.

       Finally, Defendants would have Plaintiffs wait until March 2020 to see if DED

protections will in fact cease on the date stated in the President’s directive. However, this

approach would run counter to the Court’s message, delivered during the motion hearing on

March 28, 2019, that Plaintiffs’ counsel should not wait until the eve of the new deadline to

continue to litigate this matter. Defendants’ view is not only misguided, it is contrary to the

interests of judicial efficiency expressed by the Court.




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                                 CONCLUSION

For these reasons, the Amici States support Plaintiffs in opposing the motion to dismiss.


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